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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

SARAH CARBONI, a Minor, by and               )
Through Her Parents and next Friends,        )
BRANDIE CARBONI and STEPHEN                  )
CARBONI,                                     )
                                             )
                     Plaintiff,              )
                                             )                  8:07CV308
       vs.                                   )
                                             )                    ORDER
MARY LANNING MEMORIAL                        )
HOSPITAL ASSOCIATION,                        )
REBECCA WORDEN, M.D., and                    )
MOSCATI HEALTH CENTER, P.C.,                 )
                                             )
                     Defendants.             )


        Upon review of the proposed pleading, and considering counsel's representation that
there is no objection,

      IT IS ORDERED that plaintiff's Motion to Amend Complaint [121] is granted, as
follows:

      1. Plaintiff is given until and including July 30, 2008 to file and serve the amended
complaint.

      2. Defendants shall respond to the Amended Complaint within the time allowed by
Fed. R. Civ. P. 15(a).

       DATED July 17, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
